                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – FLINT

In re:

         ANNE S. HALE,                                             Case No. 11-33589-dof
                                                                   Chapter 7 Proceeding
                 Debtor.                                           Hon. Daniel S. Opperman

____________________________________/

ANIMAL BLOOD BANK, INC,
MICHAEL W. KAUFMAN, and
PATRICIA M. KAUFMAN,

         Plaintiffs,

v.                                                                 Adv. Pro. No. 11-03501-dof

ANNE S. HALE,

         Defendant.

_____________________________________/



         OPINION GRANTING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         The matter before the Court is the Plaintiffs’ Motion for Summary Judgment, in which

the Plaintiffs argue that they are entitled to summary judgment on their §§ 523(a)(2)(A), (a)(4),

and (a)(6) counts based on the collateral estoppel effect of an Order issued by the United States

District Court for the Eastern District of California granting the Plaintiffs’ Motion for Default

Judgment and determining that the Defendant committed fraud, breached her fiduciary duty, and

misappropriated trade secrets.




                                                  1

     11-03501-dof      Doc 33    Filed 04/25/14   Entered 04/25/14 13:57:54     Page 1 of 17
                                         JURISDICTION

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. ' 157, 28 U.S.C. '

1334 and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. ' 157(b)(2)(I)

(determinations as to the dischargeability of particular debts).

       The issues before the Court arise from Title 11 of the United States Code and are

therefore within this Court’s jurisdiction pursuant to Stern v. Marshall, 131 S. Ct. 2594 (2011),

and Waldman v. Stone, 698 F.3d 910 (6th Cir. 2012).



                   BACKGROUND FACTS AND PROCEDURAL HISTORY

       Anne Hale (“Defendant”) filed her Chapter 7 bankruptcy petition after ten months of

litigation with Michael and Patricia Kaufman and their company, Animal Blood Bank (“ABB”)

(collectively referred to as “Plaintiffs”), in the United States District Court for the Eastern

District of California (“California Court”), Animal Blood Bank, Inc. et al. v. Hale, Case No.

2:10-cv-02080-KJM-KJN.

       Michael and Patricia Kaufman formed ABB as a California corporation in 2002. ABB is

in the business of providing animal blood and blood products to the veterinary industry.

       In general, the California Court case arose out of the merger of the Defendant's company,

MidWest Animal Blood Services, Inc. ("MABS") with and into ABB. The merger closed on July

16, 2008. The Defendant was the president and chief executive officer of ABB from June 22,

2008, until her resignation in May of 2010. Over the course of her relationship with ABB, the

Plaintiffs allege the Defendant breached her fiduciary duties to ABB, breached her contracts with

the Plaintiffs, defrauded the Plaintiffs, and misappropriated ABB's trade secrets and proprietary

information.



                                                  2

  11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54      Page 2 of 17
       The Plaintiffs filed a complaint in the California Case on August 4, 2010. The Defendant

filed an Answer and Counterclaims on October 8, 2010. On August 3, 2011, the Plaintiffs'

counsel filed a Notice of Filing Bankruptcy as to the Defendant. On October 24, 2011, the

district judge stayed the California Case due to the pendency of the Defendant's bankruptcy

proceeding.

       On October 24, 2011, the Plaintiffs filed the pending adversary proceeding seeking a

judgment that the claims pending in the California Court were nondischargeable on October 24,

2011. On December 9, 2011, ABB filed a motion to lift the automatic stay in the Defendant’s

bankruptcy case to allow the underlying issues to be litigated in the California Court. Neither the

Chapter 7 Trustee nor the Defendant filed a response to ABB’s Motion to Lift the Stay. The

Court entered an Order Lifting the Automatic Stay, allowing the California Case to proceed, and

staying the adversary proceeding on December 29, 2011. On January 8, 2012, the Trustee filed a

Motion for Reconsideration of the Court’s December 29, 2011, Order. The Defendant joined the

Trustee’s Motion. The Court held a hearing on the Motion for Reconsideration and entered an

Order denying it on February 1, 2012.

       On February 10, 2012, the district judge lifted the stay in the California Case. After the

stay was lifted, the Defendant ceased participating in the California case, despite multiple court

orders directing her to do so. After a hearing on a motion to compel on May 3, 2012, and having

determined that neither the Defendant or the Chapter 7 Bankruptcy trustee who "owns" the

Defendant's counterclaims intended to participate in the litigation, the California Court entered

an order to show cause directing the Defendant to show cause why: (1) her answer should not be

stricken; (2) a default should not be entered; and (3) her counterclaims should not be dismissed

with prejudice. The California Court ordered the Chapter 7 bankruptcy trustee, Michael A.



                                                3

  11-03501-dof     Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54        Page 3 of 17
Mason, to similarly show cause in regard to the dismissal of Defendant's counterclaims. Neither

defendant nor Mr. Mason filed a response to the order to show cause. Accordingly, the California

Court recommended that: (1) the Clerk of Court be directed to strike the Defendant's answer to

the Plaintiffs' complaint and enter the Defendant's default; and (2) the Defendant's counterclaims

be dismissed with prejudice. The order to show case warned that the Defendant's and the

Trustee's failures to respond to the order to show cause would constitute consent to those

recommendations. On July 2, 2012, the district judge issued an order dismissing Defendant’s

counterclaims, pursuant to the parties' stipulation.

       On August 21, 2012, the district judge issued an order partially adopting the Findings and

Recommendations of the magistrate judge. Therein, the district judge directed the Clerk of the

Court to: (a) strike the Defendant's answer to the Plaintiffs' complaint; and (b) enter the

Defendant's default with respect to the Plaintiffs affirmative claims. On October 3, 2012, the

Clerk of the Court entered the Defendant's default pursuant to the district judge's Order.

       On September 20, 2012, the Plaintiffs filed a Motion for Default Judgment against the

Defendant and served a copy of the motion on the Defendant. The Defendant did not file a

response to the Motion for Default Judgment.

       On November 19, 2012, the magistrate judge overseeing the California Case issued

Findings and Recommendations. On August 8, 2013, the California Court issued its Order,

which adopted the Findings and Recommendations with the exception of the attorney fee award,

which it reduced to $242,167.50. Specifically, the California Court (1) granted the Plaintiffs’

Motion for Default Judgment, (2) entered a default judgment against the Defendant for the

breach of contract, breach of fiduciary duty, misappropriation of trade secrets, and fraud claims;

and (3) awarded damages.



                                                  4

  11-03501-dof      Doc 33     Filed 04/25/14      Entered 04/25/14 13:57:54       Page 4 of 17
                                      APPLICABLE LAW

                                  A. Summary Judgment Standard

       Federal Rule of Civil Procedure 56 is made applicable in its entirety to bankruptcy

adversary proceedings by Fed. R. Bankr. P. 7056. Federal Rule of Bankruptcy Procedure

7056(c) provides that summary judgment is proper "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law." See Choate v. Landis Tool Co., 46 F. Supp. 774 (E.D. Mich. 1980). The moving party

bears the burden of showing the absence of a genuine issue of material fact as to an essential

element of the non-moving party's case. Street v. J.C. Bradford & Co., 886 F.2d 1472 (6th Cir.

1989) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 2548, 91 L.Ed.2d 265 (1986)).

The burden then shifts to the nonmoving party once the moving party has met its burden, and the

nonmoving party must then establish that a genuine issue of material fact does indeed exist.

Janda v. Riley-Meggs Industries, Inc., 764 F. Supp. 1223, 1227 (E.D. Mich. 1991).



                                        B. Collateral Estoppel

          The Supreme Court has held that the doctrine of collateral estoppel is
       applicable in dischargeability proceedings. Grogan v. Garner, 498 U.S. 279, 284
       n.11, 111 S.Ct. 654, 658, 112 L.Ed.2d 755 (1991). Federal common law governs
       the claim-preclusive effect of all federal court judgments. Semtek Int'l Inc. v.
       Lockheed Martin Corp., 531 U.S. 497, 507–8, 121 S.Ct. 1021, 1027–28, 149
       L.Ed.2d 32 (2001). While the federal rule applied to federal judgments in
       diversity cases generally requires the application of the issue preclusion rules of
       the state in which the federal diversity court sits, federal issue preclusion law
       applies to federal judgments in federal question cases. See id.

In re Trantham, 304 B.R. 298, 305 (B.A.P. 6th Cir. 2004).




                                                 5

  11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54        Page 5 of 17
        Here, the federal district court that decided the California case is in California and has

diversity jurisdiction. Accordingly, this Court should apply the issue preclusion rules of the state

of California in this case.

        California courts will apply collateral estoppel only if certain threshold
        requirements are met, and then only when its application furthers the public
        policies underlying the doctrine. See Harmon v. Kobrin (In re Harmon), 250 F.3d
        1240, 1245 (9th Cir. 2001). Pursuant to California law, courts may apply
        collateral estoppel if the following threshold requirements are met:

                First, the issue sought to be precluded from relitigation must be
                identical to that decided in a former proceeding. Second, this issue
                must have been actually litigated in the former proceeding. Third,
                it must have been necessarily decided in the former proceeding.
                Fourth, the decision in the former proceeding must be final and on
                the merits. Finally, the party against whom preclusion is sought
                must be the same as, or in privity with, the party to the former
                proceeding.

        Id. (internal quotation marks omitted).

In re Lopez, 378 Fed. Appx. 610, 611 (9th Cir. 2010).


                                            ANALYSIS

        In determining if the doctrine of collateral estoppel is applicable in this adversary

proceeding, the Court must consider the following elements: (1) the issue to be precluded is

identical to the issue in the former proceeding; (2) the issue was actually litigated in the former

proceeding; (3) the issue was necessarily decided in the former proceeding; (4) the judgment in

the former proceeding is a final judgment on the merits; and (5) the party against whom

preclusion is sought must be the same as in the former proceeding. Lucido v. Superior Court, 51

Cal.3d 335, 341 (1990), cert. denied, 500 U.S. 920 (1991).




                                                  6

  11-03501-dof       Doc 33    Filed 04/25/14      Entered 04/25/14 13:57:54         Page 6 of 17
          A.      Whether the issue sought to be precluded from litigation is identical
                           to that decided in the former proceeding.

                                 1. Breach of Fiduciary Duty Count

       With regard to the Breach of Fiduciary Duty count in the California case, the Findings

and Recommendations adopted by the California Court specifically provided:

               The undersigned finds that the allegations in plaintiffs' complaint
       sufficiently support the grant of relief on plaintiffs' fiduciary duty claim in the
       context of an application for entry of default judgment.
               To allege a claim for breach of fiduciary duty under California law, a
       plaintiff must allege: "(1) existence of a fiduciary relationship; (2) breach of the
       fiduciary duty; and (3) damage proximately caused by that breach." Lane v. Vitek
       Real Estate Industries Group, 713 F. Supp. 2d 1092, 1104 (E.D. Cal. 2010) (citing
       Roberts v. Lomanto, 112 Cal. App. 4th 1553, 1562 (2003)). A director of a
       corporation has a fiduciary relationship with the corporation and owes the
       corporation a fiduciary duty. Credit Bureau Connection, Inc. v. Pardini, 726 F.
       Supp. 2d 1107, 1120 (E.D. Cal. 2010).
               Here, plaintiffs have pleaded factual allegations to support claims for
       defendant's breaches of fiduciary duties to ABB. Plaintiffs have alleged that
       defendant's role as a director and officer of ABB gave rise to her fiduciary duty to
       ABB. Plaintiffs have also alleged that defendant failed to accurately inform ABB
       about MABS' liabilities in advance of the merger, that defendant continued with a
       "lyophilized platelet project" without ABB shareholder approval, that defendant
       caused ABB to pay more than $5,000 to her other company, Trianco LLC,
       without unanimous ABB shareholder approval, and that defendant improperly
       caused ABB to take on significant liabilities, among other improprieties.
       Plaintiffs have also alleged damages resulting from these breaches of duty;
       namely, that defendant's breaches of fiduciary duty to ABB has "depressed the
       value of ABB," among other damages. Plaintiffs also alleged that their resulting
       damages exceed $500,000.
               The undersigned concludes that the breach of fiduciary duty allegations in
       plaintiffs' complaint, taken as true for the purpose of evaluating the application for
       default judgment, justify entry of default judgment insofar as the merits and
       sufficiency of those allegations are concerned. Specifically, the undersigned
       concludes that plaintiffs have sufficiently alleged that defendant breached
       fiduciary duties to ABB. Accordingly, the second and third Eitel factors favor the
       entry of default judgment as to plaintiffs' fiduciary duty claims.

       Under 11 U.S.C. §523(a)(4), a debt will be determined nondischargeable if it is a debt

"for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or larceny." If

“fraud or defalcation” is at issue, the Sixth Circuit has adopted a narrow definition of the


                                                 7

 11-03501-dof      Doc 33     Filed 04/25/14      Entered 04/25/14 13:57:54        Page 7 of 17
requirement that the Debtor act in a “fiduciary capacity” under Section 523(a)(4) in the case of

R.E. America, Inc. v. Garver (In re Garver), 116 F.3d 176, 179 (6th Cir. 1997), holding that the

term “implies the existence of an express or technical trust relationship,” requiring that “the

debtor must hold funds in trust for a third party to satisfy the fiduciary relationship element of

the defalcation provision of § 523(a)(4).”

       Because the complaint in the California Case alleged facts sufficient to support a claim

based on breach of fiduciary duty, it necessarily shared an identity with the § 523(a)(4)

allegations contained in the nondischargeability complaint in this proceeding.


                        2. Misappropriation of Trade Secrets Count

       With regard to the Misappropriation of Trade Secrets count in the California Case, the

Findings and Recommendations adopted by the California Court specifically provided:

                The undersigned finds that the allegations in plaintiffs' complaint
       sufficiently support the grant of relief on plaintiffs' trade secret misappropriation
       claim in the context of an application for entry of default judgment.
                To allege a claim for misappropriation of trade secrets under California
       law, a plaintiff must allege: (1) they owned trade secrets; (2) that the defendant
       acquired, disclosed, or used those trade secrets through improper means; and (3)
       the defendant's actions damaged the plaintiff. Cytodyn, Inc. v. Amerimmune
       Pharmaceuticals, Inc., 160 Cal. App. 4th 288, 297 (2008).
                Here, plaintiffs have pleaded factual allegations to support claims for
       defendant's misappropriation of ABB's trade secrets. Plaintiffs have alleged that
       ABB possessed two proprietary lists, a customer list and an animal blood donor
       list, that amounted to trade secrets. Plaintiffs have also alleged that defendant
       took those lists and turned them over to ABB's competitor. Plaintiffs have alleged
       that defendant's actions caused actual damages to plaintiffs, including causing
       ABB to no longer be the "primary supplier" of blood to some of its clients.
       Plaintiffs have also alleged that defendant's actions were willful and malicious.
                The undersigned concludes that the trade secret misappropriation
       allegations in plaintiffs' complaint, taken as true for the purpose of evaluating the
       application for default judgment, justify entry of default judgment insofar as the
       merits and sufficiency of those allegations are concerned. Specifically, the
       undersigned concludes that plaintiffs have sufficiently alleged that defendant
       misappropriated ABB's trade secrets in the form of a customer list and animal



                                                8

  11-03501-dof      Doc 33    Filed 04/25/14     Entered 04/25/14 13:57:54         Page 8 of 17
       blood donor list. Accordingly, the second and third Eitel factors favor the entry of
       default judgment as to plaintiffs' claims for trade secret misappropriation.

       Section 523(a)(6) authorizes a bankruptcy court to exclude a debtor from receiving a

discharge “from any debt for willful and malicious injury by the debtor to another entity or the

property of another entity.” The exceptions to discharge are to be narrowly construed in favor of

the debtor. Monsanto Co., v. Trantham (In re Trantham), 304 B.R. 298 (B.A.P. 6th Cir. 2004)

(citing Meyers v. I.R.S. (In re Meyers), 196 F.3d 622 (6th Cir. 1999)); see also Walker v. Tuttle

(In re Tuttle), 224 B.R. 606, 610 (Bankr. W.D. Mich. 1998) (recognizing "the axiom that

requires this court to construe exceptions to the bankruptcy discharge narrowly and in favor of

the debtor.") (citing Kawaauhau v. Geiger, 523 U.S. 57 (1998)). A party must prove by a

preponderance of the evidence that a debtor committed an injury that is both willful and

malicious. Grogan v. Garner, 498 U.S. 279 (1991).

       In Kawaauhau v. Geiger, 523 U.S. 57 (1998), the U.S. Supreme Court discussed and

determined the meaning of the language used in 11 U.S.C. § 523(a)(6). The issue before the

U.S. Supreme Court involved “whether a debt arising from a medical malpractice judgment

attributable to negligent or reckless conduct” fell within 11 U.S.C. § 523(a)(6). Id. at 59. The

Kawaauhaus argued that the malpractice award fell within the Section 523(a)(6) exception

because Dr. Geiger engaged in the intentional act of providing inadequate medical services

which led to Mrs. Kawaauhau’s injury. Id. at 61.

       In analyzing the parameters of the language “willful and malicious injury,” the Supreme

Court found that:

       [T]he word “willful” in (a)(6) modifies the word “injury,” indicating that
       nondischargeability takes a deliberate or intentional injury, not merely a
       deliberate or intentional act that leads to injury. Had Congress meant to exempt
       debts resulting from unintentionally inflicted injuries, it might have described
       instead “willful acts that cause injury.” Or, Congress might have selected an


                                                9

  11-03501-dof      Doc 33    Filed 04/25/14     Entered 04/25/14 13:57:54        Page 9 of 17
        additional word or words, i.e., “reckless” or “negligent,” to modify “injury.” . . .
        [T]he (a)(6) formulation triggers in the lawyer’s mind the category “intentional
        torts,” as distinguished from negligent or reckless torts. Intentional torts generally
        require that the actor intend “the consequences of an act,” not simply “the act
        itself.”

Id. at 61-62 (quoting Restatement (Second) of Torts § 8A, Comment a, p. 15 (1964)).

        The Supreme Court further determined that to adopt the interpretation proposed by the

Kawaauhaus would:

        place within the excepted category a wide range of situations in which an act is
        intentional, but injury is unintended, i.e., neither desired nor in fact anticipated by
        the debtor. . . . A “knowing breach of contract” could also qualify. A
        construction so broad would be incompatible with the ‘well-known guide that
        exceptions to discharge “should be confined to those plainly expressed.’

Id. at 62 (quoting Gleason v. Thaw, 236 U.S. 558, 562 (1915)).
        More than a year later, the Sixth Circuit Court of Appeals considered the “willful and

malicious injury” language contained in § 523(a)(6), in Markowitz v. Campbell (In re

Markowitz), 190 F.3d 455 (6th Cir. 1999). The Sixth Circuit Court of Appeals interpreted

Geiger and noted that:

        [t]he [Supreme] Court’s citation to the Restatement’s definition of “intentional
        torts” underscores the close relationship between the Restatement’s definition of
        those torts and the definition of “willful and malicious injury.” The Restatement
        defines intentional torts as those motivated by a desire to inflict injury or those
        substantially certain to result in injury. Although the Supreme Court identified a
        logical association between intentional torts and the requirements of § 523(a)(6),
        it neither expressly adopted nor quoted that portion of the Restatement discussing
        “substantially certain” consequences.

Id. at 464.

        Based on the language used and analysis of the Supreme Court in Geiger, the Markowitz

Court announced the standard of the Sixth Circuit by holding that:

        unless ‘the actor desires to cause [the] consequences of his act, or . . . believes that
        the consequences are substantially certain to result from it,’ he has not committed
        a “willful and malicious injury” as defined under § 523(a)(6).


                                                  10

 11-03501-dof       Doc 33     Filed 04/25/14      Entered 04/25/14 13:57:54         Page 10 of 17
Id. (quoting Restatement (Second) of Torts § 8A, at 15 (1964)); see Kennedy v. Mustaine, 249

F.3d 576, 580 (6th Cir. 2001).

        In addition to proving a willful injury, a party must also prove that the debtor committed

a malicious injury. “‘Malicious’ means in conscious disregard of one’s duties or without just

cause or excuse; it does not require ill-will or specific intent.” Wheeler v. Laudani, 783 F.2d

610, 615 (6th Cir. 1986) (citing Tinker v. Colwell, 193 U.S. 473, 486 (1904)). If a party fails to

prove either willful or malicious, the debt will be discharged. Markowitz, 190 F.3d at 463.

Inferences can be made, however, if the circumstances surrounding the alleged injury warrant

such:

        Determining whether a debtor acted both willfully and maliciously for purposes
        of § 523(a)(6) requires an examination of that person’s state of mind. A debtor
        will rarely, if ever, admit to acting in a willful and malicious manner . . . [but]
        both requirements can be inferred through the circumstances surrounding the
        [involved] injury.

O’Brien v. Sintobin (In re Sintobin), 253 B.R. 826, 831 (Bankr. N.D. Ohio 2000) (citations

omitted).

        Although misappropriation of trade secrets under California law did not require proof that

the Defendant acted willfully and maliciously, the Plaintiffs stated that the Defendant acted

wilfully and maliciously in their California Case complaint.                 The Findings and

Recommendations adopted by the district court recognized that the Plaintiffs alleged that fact. In

addition, when the California Court awarded attorney’s fees, the court necessarily determined

that the misappropriation was willful and malicious. See Cal. Civ. Code § 3426.4 (requiring a

court to find that the misappropriation was willful and malicious before it may award attorney

fees). Because the complaint in the California Case alleged facts sufficient to support a claim

based on misappropriation of trade secrets and that the Defendant acted willfully and maliciously



                                                11

 11-03501-dof      Doc 33     Filed 04/25/14    Entered 04/25/14 13:57:54        Page 11 of 17
(and the court also awarded attorney’s fees), it necessarily shared an identity with the § 523(a)(6)

allegations contained in the nondischargeability complaint in this proceeding.

                                           3. Fraud Count

       With regard to the Fraud count in the California case, the Findings and Recommendations

adopted by the California Court specifically provided:

                The undersigned finds that the allegations in plaintiffs' complaint
       sufficiently support the grant of relief on plaintiffs' fraud claim in the context of
       an application for entry of default judgment.
                "Under California law, the indispensable elements of a fraud claim include
       (1) a false representation, (2) knowledge of its falsity, (3) intent to defraud, (4)
       justifiable reliance, and (5) damages." Craigslist. Inc., 694 F. Supp. 2d at 1060
       (citing Vess v. Ciba-Geigy Corp. USA., 317 F.3d 1097, 1 105 (9th Cir. 2003)
       (internal quotations and citation omitted). Pursuant to Rule 9 of the Federal Rules
       of Civil Procedure, a plaintiff must allege a fraud claim with particularity. Fed. R.
       Civ. P. 9(b).
                Here, plaintiffs have pleaded factual allegations to support fraud claims
       against defendant. Plaintiffs have alleged that defendant made false
       representations to plaintiffs about the extent of MABS' liabilities, the existence of
       a lease with Pitt County Development Commission, and the fact that a grant was
       supposed to pay for the construction of a laboratory clean room at the leased
       premises. Plaintiffs have alleged that defendant knew these and other
       representations were false. Plaintiffs also alleged that defendant increased MABS'
       liabilities "[a]fter the [m]erger" by secretly taking on an additional loan from
       Independent Bank in MABS' name. Plaintiffs have alleged that they justifiably
       relied on defendant's representations about MABS' liabilities, the lease, the clean
       room's being funded by a grant, and other representations, and that in reliance
       upon these representations plaintiffs executed the Merger Agreement and made
       various improper payments that defendant directed ABB to pay. Plaintiffs have
       alleged resulting damages, including incurring improperly-incurred debts and
       obligations of MABS. Plaintiffs have also alleged that the intentional
       misrepresentations by defendant warrants an award of punitive damages.
       `        The undersigned concludes that the fraud allegations in plaintiffs'
       complaint, taken as true for the purpose of evaluating the application for default
       judgment, justify entry of default judgment insofar as the merits and sufficiency
       of those allegations are concerned. Specifically, the undersigned concludes that
       plaintiffs have sufficiently alleged that defendant committed fraud. Accordingly,
       the second and third Eitel factors favor the entry of default judgment as to
       plaintiffs' claims for fraud.




                                                12

 11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54        Page 12 of 17
       Under section 727 of the Bankruptcy Code, a debtor may obtain a general discharge from

all debts that arose before the order for relief.     11 U.S.C. § 727(b).     However, there are

exceptions for certain obligations, including debts for money obtained by fraud or by use of a

false statement in writing. 11 U.S.C. § 523(a)(2)(A) & (B). A discharge under section 727 does

not discharge an individual debtor from any debt:

       (2) for money, property, services, or an extension, renewal, or refinancing of
       credit, to the extent obtained by –

               (A) false pretenses, a false representation, or actual fraud, other than a
               statement respecting the debtor’s or an insider’s financial condition;

11 U.S.C. § 523(a)(2)(A). To prevail on a claim under 523(a)(2)(A), a plaintiff must show that:

       (1) [T]he debtor obtained money through a material misrepresentation that at the time the
       debtor knew was false or that he made with reckless disregard for the truth; (2) the debtor
       intended to deceive; (3) the creditor justifiably relied on the false representation; and (4)
       its reliance was the proximate cause of loss.

In re Rembert, 141 F.3d 277, 280 (6th Cir. 1998). Whether a debtor possessed intent to deceive

is measured by a subjective standard. Id.

       The elements necessary to establish that a debt is nondischargeable under § 523(a)(2)(A)

“mirror the elements of common law fraud.” Younie v. Gonya (In re Younie), 211 B.R. 367,

373-74 (9th Cir. B.A.P. 1997). Because the complaint in the California Case alleged facts

sufficient to support a claim based on common law fraud, it necessarily shared an identity with

the § 523(a)(2)(A) allegations contained in the nondischargeability complaint in this proceeding.



              B. Whether the issue was actually litigated and necessarily determined

       Under California law, default judgments are considered:

       conclusive to the issues tendered by the complaint as if it had been rendered after
       answer filed and a trial had on the allegations denied in the answer … Such a
       judgment is res judicata as to all issues aptly pleaded in the complaint and


                                                13

 11-03501-dof      Doc 33    Filed 04/25/14      Entered 04/25/14 13:57:54        Page 13 of 17
       defendant is estopped from denying in a subsequent action any allegations
       contained in the former complaint.

Newsom v. Moore (In re Moore), 186 B.R. 962, 971 (Bankr. N.D. Cal. 1995) (citations omitted).

Therefore, a default judgment can satisfy the “actually litigated” requirement of issue preclusion.

See, e.g., Fernandez v Miniefee (In re Miniefee). 2012 Bankr. LEXIS 4138, *7-8 (Bankr. S.D.

Cal. Aug. 24, 2012) (concluding that the issues were "actually litigated" where a default entered

after defendant's answer was struck for failure to appear at a settlement conference); Tatung

Company. Ltd. v. Houng (In re Houng), 2012 Bankr. LEXIS 4295, *7-8 (Bankr. C.D. Cal. Aug.

1, 2012), aff’d 499 B.R. 751 (Bankr. C.D. Cal. 2013) (determining that the issues were "actually

litigated" where defendant's answer was stricken as a discovery sanction by arbitrator).

However, for a default judgment to be actually litigated, the material factual issues must have

been both raised in the pleadings and necessary to uphold the default judgment. Id. at 971-72;

Harmon v. Kobrin (In re Harmon), 250 F.3d 1240, 1247 (9th Cir. 2001).

       The California Case complaint alleged facts supporting the Plaintiffs’ claims that the

Defendant committed fraud, misappropriated trade secrets, and breached her fiduciary duty. In

entering the default judgment, the California Court expressly found that the Plaintiffs presented

evidence demonstrating that the Defendant committed fraud, misappropriated trade secrets, and

breached her fiduciary duty. Thus, the factual issues of those counts were raised in the pleadings

and were necessary to the default judgment. As a result, the California Case complaint was

“actually litigated” and necessarily decided. Id.; see In re Younie, 211 B.R. 374-75.

    C. Whether the judgment in the former proceeding is a final judgment on the merits and the
         whether the party against whom preclusion is sought is the same as in the former
                                            proceeding.

       The application of collateral estoppel requires that the "the decision in the former

proceeding must be final and on the merits" Harmon. 250 F.3d at 1245. "A 'final decision'


                                                14

 11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54       Page 14 of 17
generally is one which ends the litigation on the merits and leaves nothing for the court to do but

execute the judgment." Catlin v. United States. 324 U.S. 229, 233 (1945), quoted by In re Mack.

2007 Bankr. LEXIS 4833, *10 (9th Cir. B.A.P. Mar. 28, 2007).

       This element is met because the California Court Order was a final order on the merits.

There was no appeal of that final order and the appeals period has since passed.

       The Defendant concedes that the party against whom preclusion is sought is the same as

in the former proceeding.

       Accordingly, those two elements have been met.

                                      D. Policy Considerations

       The last issue the Court must consider in determining whether or not to apply collateral

estoppel in this case is whether the policy considerations support application of the doctrine.

       Trial courts have “broad discretion” in determining when to apply issue
       preclusion. See Parklane Hosiery Co. v. Shore, 439 U.S. 322, 331, 99 S.Ct. 645,
       58 L.Ed.2d 552 (1979). In California, courts do not apply issue preclusion
       automatically or rigidly; rather, they are permitted to decline to give issue
       preclusive effect to prior judgments in deference to countervailing considerations
       of fairness. See Lucido v. Superior Court, 51 Cal.3d 335, 272 Cal. Rptr. 767, 795
       P.2d 1223, 1226 (1990); see also People v. Seltzer, 101 Cal. Rptr. 260, 262 (App.
       Dep't Super. Ct. 1972) (collecting cases). The courts balance the need to limit
       litigation against other factors to determine whether the application of collateral
       estoppel is fair. See Lucido, 272 Cal. Rptr. 767, 795 P.2d at 1226–27.
       “Accordingly, the public policies underlying collateral estoppel—preservation of
       the integrity of the judicial system, promotion of judicial economy, and protection
       of litigants from harassment by vexatious litigation—strongly influence whether
       its application in a particular circumstance would be fair to the parties and
       constitute sound judicial policy.” Id. at 1227.

In re Lopez, 378 F. App'x at 613.

       The Defendant argues that the Court should not apply collateral estoppel in this case

because she did not have the money to continue the litigation in the California Court case. She

argues that she could not find an attorney to represent her on a contingency basis and she did not



                                                 15

 11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54         Page 15 of 17
have the funds to hire an attorney otherwise. The Plaintiffs argue that the Court should apply

collateral estoppel in this case because (1) the Defendant had the opportunity to oppose ABB’s

Motion for Relief from Stay in her bankruptcy case, but she failed to do so and failed to appeal

this Court’s decision on that matter; (2) the Defendant had the opportunity to participate in the

litigation in the California Court case, with or without an attorney representing her; (3)

application of collateral estoppel would preserve court resources and promote judicial economy;

(4) application of collateral estoppel would preserve the integrity of this Court’s decision on the

Motion for Relief from Stay and the California Court’s decision as to liability and damages in the

California case; and (5) the Plaintiffs would be prejudiced if they were forced to re-litigate this

matter in this Court.

        Although collateral estoppel applies to default judgments under the California law, this

Court has broad discretion in determining whether or not to apply collateral estoppel in this case.

The Court is persuaded that the policy considerations greatly favor the Plaintiffs in this case.

The Plaintiffs have taken the appropriate steps to litigate these issues both in this Court, when

ABB sought relief from the stay to allow the litigation in the California case to continue, and in

the California court, when it sought a determination as to the Defendant’s liability and damages.

The California court decided the issues of the Defendant’s liability and damages and the

Plaintiffs would be greatly prejudiced if they were forced to re-litigate these issues. The policy

considerations in this case do not support the Court giving the Defendant another opportunity to

litigate these issues.

        Moreover, to hold otherwise would negate this Court’s previous decision to grant the

Plaintiffs’ Motion for Relief from Stay. Allowing the Defendant to now enter this Court and re-

litigate issues properly decided by the California Court is of added expense to the Plaintiffs and



                                                16

 11-03501-dof       Doc 33    Filed 04/25/14     Entered 04/25/14 13:57:54       Page 16 of 17
contrary to the direction given to this Court to use judicial resources properly. Finally, if the

Defendant did not have sufficient resources for the California Case, there is no reason to think

that, if this Court had denied the Plaintiffs’ Motion for Relief from Stay, a different result would

have occurred in the instant adversary proceeding.



                                         CONCLUSION

       For the reasons set forth herein, the Court determines that collateral estoppel applies in

this case and that the Plaintiffs’ Motion for Summary Judgment is granted. Counsel for the

Plaintiffs shall prepare and present an appropriate order.



Signed on April 24, 2014                              .




                                                              /s/ Daniel S. Opperman
                                                                  Daniel S. Opperman
                                                      United States Bankruptcy Judge




                                                 17

 11-03501-dof      Doc 33     Filed 04/25/14     Entered 04/25/14 13:57:54        Page 17 of 17
